Case 5:24-cv-00113-DCB-ASH Document 1-1 Filed 10/24/24 Page 1 of 23
. (248) 327-6556
Oliver Bell 50 W Big Beaver Rd Ste 200
% Attorneys at Law Troy, MI 48084

8951 Cypress Waters Blvd #160

Dallas, TX 75019
Tayah Stephens
(248) 327-6556
tstephens@oliverlawgroup.com
www.oliverbellgroup.com

July 16, 2024

Sent via USPS First Class Mail

Lonnie Sims MDOC No. 140701
Wilkinson County Correctional
2999 US Hwy 61 North
Woodville, MS 39669

Re: Andrew Alexander, et al. V Pelicia E. Hall, et al.
USDC Northern District of Mississippi Case No. 4:20-cv-00021

Dear Mr. Sims:

Our office is in receipt of your last correspondence. We are currently waiting on the court to rule on
our motion for class certification.

Should you have any questions or concerns regarding the above, please do not hesitate to contact our
office.

Sincerely,

OLIVER BELL GROUP

Tayah Stephens
Case Manager
Case 5:24-cv-00113-DCB,; oye Foy Ay 24, Page in ve
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Case 5:24-cv-00113-DCB-ASH Document 1-1 Filed 10/24/24 Page 3 of 23

INMATE RECEIPT se

MISSISSIPPI DEPARTMENT OF CORRECTIONS
Administrative Remedy Program

Date:

Received By: a i ee

Witness: ae

Form ARP-1 — Offender’s relief form

Form ARP-2 — 1st step response

z fon nop

+" Form ARP-3 — 2nd step response / oe

5-Day extension

Step 2 denial

Rejected

Letter #

Other

1st page of this receipt is to be returned to the Administrative Remedy
Program Director to become part of inmate’s ARP file

YELLOW COPY - INMATE
Case 5:24-cv-00113-DCB-ASH Document 1-1 Filed 10/24/24 Page 4 of 23 ARP-2
MISSISSIPPI DEPARTMENT OF CORRECTIONS

Administrative © Remedy Program

NUMBER wf.

FIRST STEP RESPONSE FORM

Type or use ball point pen. You must return your response to the Administrative Remedy Program Director
within 30 days of the date the request was initiated

To: / Cte ft Z Ctliio Lie vit 1@ oF
ao. Inmate’s Name and DOC# : ~ Housing Unit
} “ oa LNG MP: f ,
From: Roo fai gh Aint F : : foe het é fof oe fiw
Title/Location

Person to whom 1st Step is Directed

If you are not satisfied with this response, you may go to Step Two by checking below and forwarding to the ARP Administrative Remedy

Program Director within 5 days of your receipt of this decision.
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Inmate's Signature DOC# Seo. Date

Administrative Remedy Program Director - ORIGINAL
Case 5:24-cv-00113-DCB-ASH Document 1-1 Filed 10/24/24 Page 5 of 23

MISSISSIPPI DEPARTMENT OF CORRECT IONS
' Administrative Remedy Program

WCCF-24-78

| SECOND STEP RESPONSE FORM

You must respond to the inmate within 45 days of receipt of the appeal of the First Step Response.

Inmate’s Name & #: Lonnie Sims #140701
Location: Wilkinson County Correctional Facility

From: D. Webb
Title: Chief of Records

Rerote BosoreL oil review You. AQQUN “Dee. Foa4

Omnia bot I 3h) 3fo-Lb

Signature ' Date
The above named inmate has fulfilled the requirements of the Administrative Remedy Program at WCCF under

extraordinary circumstances and is eligible to seek judicial review in state or federal court within 30 days of receipt of the
Second Step Response. Financial responsibility for such filing rests with the inmate.

Zlenn, & Suwa Juez | pop -2eet}
Inmate’s Signature DOC # Date

23
Case 5:24-cv-00113-DCB-ASH Document 1-1 Filed 10/24/24 Page 6 of

2

INMATE RECEIPT

MISSISSIPP} DEPARTMENT OF CORRECTIONS
Administrative Remedy Program

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Form ARP-1 — Offender’s relief form

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Form ARP-3 — 2nd Step response

5-Day extension

*

Step 2 denial

Rejected

Letter #

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ist page of this receipt is to be returned to the Administrative Remedy
Program Director to become Part of inmate’s ARP file

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Case 5:24-cv-00113-DCB-ASH Document 1-1 Filed 10/24/24 Page 7 of 23

MISSISSIPPI DEPARTMENT OF CORRECTIONS
Administrative Remedy Program

ARP-2

NUMBERLVOCCE «Ue IT

FIRST STEP RESPONSE FORM

Type or use ball point pen. You must return your response to the Administrative Remedy Program Director
within 30 days of the date the request was initiated

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To:. SUA bb Eee PG ULL )C Ch
Inmate’s Name and DOC# Housing Unit
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From: | a Uf ' \ \ / \l ( Wi UA et J
Person to whom 1st Step is Directed /Title/Location

If you are not satisfied with this response, you may go to Step Two by checking below and forwarding to the ARP Administrative Remedy
Program Director within 5 days of your receipt of this decision,

Signature Date

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(yl am not satisfied with this response and wish to proceed to Step Two. - £04
REASON: AAV fee 4 oA oTet er

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Inmate’s Signature DOC# Date

Administrative Remedy Program Director - ORIGINAL
Case 5:24-cv-00113-DCB-ASH Document1-1 Filed 10/24/24 Page 8 of 23
INMATE RECEIPT =

MISSISSIPPI DEPARTMENT OF CORRECTIONS
Administrative Remedy Program

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5-Day extension
Step 2 denial
Rejected

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1st page of this receipt is to be returned to the Administrative Remedy
Program Director to become part of inmate’s ARP file

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Case 5:24-cv-00113-DCB-ASH Document 1-1 Filed 10/24/24 Page 9 of 23

MISSISSIPPI DEPARTMENT OF CORRECTIONS
Administrative Remedy Program

WCCF-24-247

SECOND STEP RESPONSE FORM

You must respond to the inmate within 45 days of receipt of the appeal of the First Step Response.

Inmate’s Name & #: Lonnie Sims #140701
Location: Wilkinson County Correctional Facility

From: D. Vannoy
Title: Warden

In response to your ARP claim in reference to you requesting that the (WCCF/MTC) and (MDOC), to safely
house you in a single man cell there at Rankin County (Central Mississippi Correction Facility) on protective
custody for all safety reasons. Your name has been placed on a list for movement. The information gathered
reveals you need to provide a name(s) of whom you are in fear of your life from. The Director of Offender
Services/Designee as directed by the Commissioner will review and approve or denied all movement. |
consider this matter resolved at this level.

YL ee ce sefafry

Signature
The above named inmate has wate requirements of the Administrative Remedy Program at WCCF under

extraordinary circumstances and is eligible to seek judicial review in state or federal court within 30 days of receipt of the
Second Step Response. Financial responsibility for such filing rests with the inmate.

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Inmate’s Signature DOC # Date

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5:24-cv-00113-DCB-ASH Document 1-1 Filed 10/24/24 Page 12 of 23

= anofficial website cf the United States government

Here’s how you know

TRE UNETE YD SLATES

A DEPARTMENT of JUSTICE

Department of Justice

Office of Public Affairs

~ FOR IMMEDIATE RELEASE Wednesday, April 20, 2022

Justice Department Finds Conditions at Mississippi State Penitentiary Violate the
Constitution

The Justice Department concluded today, based upon a thorough investigation, that there is reasonable cause to
believe that conditions and practices at the Mississippi State Penitentiary (also known as Parchman) violate the Eighth
and Fourteenth Amendments to the U.S. Constitution. Assistant Attorney General Kristen Clarke of the Civil Rights
Division, U.S. Attorney Clay Joyner for the Northern District of Mississippi and U-S. Attorney Darren J. LaMarca for the

Southern District of Mississippi made the announcement.

Specifically, the department concluded that there is reasonable cause to believe Mississippi routinely violates the

constitutional rights of people incarcerated at Parchman by:

« failing to provide adequate mental health treatment to people with serious mental health needs;
_e failing to take sufficient suicide prevention measures to protect people at risk of self-harm;
* subjecting people to prolonged isolation in solitary confinement in egregious conditions that place their physical

and mental health at substantial risk of serious harm, and
e failing to protect incarcerated people from violence at the hands of other incarcerated people.

of Institutionalized Persons Act (CRIPA), the Justice Department provided the state of

As required by the Civil Rights
dings and the minimum remedial measures necessary

Mississippi with written notice of the supporting facts for these fin
to address them ina comprehensive 59-page findings letter.

“The Constitution guarantees that all people incarcerated in jails and prisons are treated humanely, that reasonable
measures are taken to keep them safe, and that they receive necessary mental health care, treatment, and services to
address their needs,” said Assistant Attorney General Clarke. “Our investigation uncovered evidence of systemic

violations that have generated a violent and unsafe environment for people incarcerated at Parchman. We are

committed to taking action that will ensure the safety of all people held at Parchman and other state prison facilities. We

look forward to working with state officials to institute comprehensive reforms.”

onstitutional obligation to keep safe the incarcerated persons who depend on them for their basic

needs,” said U.S. Attorney Joyner. “Mississippi violated the rights of persons incarcerated at Parchman by failing to
keep them safe from physical violence and for failing to provide constitutionally adequate mental health care and thal
people confined to Parchman experience serious physical and psychological harm as a result. Our office is dedicated to
defending the civil rights of all our district’s residents, including those who are incarcerated. We took forward to
continuing to work with the Mississippi Department of Corrections to protect the civil rights of those incarcerated at

Parchman.”

“Prisons have a c

Justice will ensure that the Mississippi State Penitentiary at Parchman

“The action taken today by the Department of
bligations extend to reasonable efforts to

fulfills its constitutional obligations,” said U.S. Attorney LaMarca. “Those 0
lence between incarcerated persons and prevent suicides. Those who owe

(Ebi? A)

provide basic mental health care, prevent vio
Case 5:24-cv-00113-DCB-ASH Docui 1 Fi DL
ocument 1-1 Filed 10/24/2
Case 1:22-cv-00005-TBM-RPM Document 34-1 Filed Osis page 71 22°8 !

a debt to society should have these basic needs while paying that debt. We are committed to working with state officials

to ensure that the State of Mississippi abides by its constitutional obligations.”

The department's investigation began in February 2020. Our investigation of conditions at Southem Mississippi
Correctional Institution, Central Mississippi Correctional Facility, and Wilkinson County Correctional Facility is ongoing.
Individuals with relevant information are encouraged to contact the department by phone at (833) 591-0288, or by email

at Community. MSDoc@usdoj.gov.

For more information about the Civil Rights Division and the Special Litigation Section, please visit
https:/Avww.justice.gov/ert/special-litigation-section. '

Additional information about the Northern and Southern U.S. Attorneys’ Offices is available at:
htips:/Avww.justice.gov/usao-ndms and https:/Awww,justice.gov/usao-sdms. You can contact the Northem District's Civil
Division at (662) 234-3318, and the Southern District at (601) 965-4480. You can also report civil rights violations to the

Section by completing the complaint form available at https://civilrights.justice.gov!.

Attachment(s):
Download Findings Report.pdf

Topic(s):
Civil Rights

Component(s):
Civil Rights Division
Civil Rights - Special Litigation Section

Press Release Number:
22-404

Updated April 20, 2022
P64

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Case 5:24-cv-00113-DCB-ASH

Document 1-1 Filed 10/24/24

Page 14 of 23
‘THE FINAL CALL

.. INYATES ABUSED,
« NEGLEGTED, KILLED.

Horrendous, Sree constitutional violations eae
In: prison found by Justice Department — :

This undated photo taken by.an inmate at Mississippi.
{o The Associated Press shows inmates seen lying on
the prison on Jan. 2, 2020, guards and state trooper:
Unit 32, a cell block closed in 2011 as part of a settlen
weter.or mattresses, and is plagued by mold ar

byl Michael Z. Muhammad
and William: P, Muhammad
The Final-Call Newspaper -
.@TheFinalCall,

_ Conditions and practices at the
Mississippi State Penitentiary, also
known as Parchman, violate the
Eighth and Fourteenth Amendments
to the United States Constitution de-

year-old investigation.
As disturbing as the findings are,
xe question is, what if anything, will
be done about it?
Routine violations of Parchman

clared the Justice: Department in a,
recent report, which followed a two-,

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prisoners sdonstistional tights, ‘chine
"+ ailing to provide adequate mental”

health treatment to people with serious
mental health needs;

* failing to take sufficient suicide
prevention measures to protect people”
at risk of self ham;

* subjecting people to prolonged

isolation in’ solitary confinement in

egregious conditions thet place their

tial risk of serious harm, and

“+ failing to pruicct incarcerated peo-
ple from violence at the hands of other
incarcerated people.

~ Lawsuits filed by Team. Roc. in
January 2020 detailed the conditions
in the Parchman ‘facility as: “so. bar-*
baric, the health and mental’ health ’
care provided so inadequate, and the
secunly so poorly enforced that the in- :
mais there live.a miserable, hopeless fee

life contionted daily by the imminent : ° ‘
C ontinued on page 34 Dirty, inoperable and inaccessible follets In revent |
: Se ARCA TE Cn osdins Soman aes realities of life there for inmates wilh and without

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Case 1:22-cv-00005-TBM-RPM Document 34-1 Filed 08/11/23 Page 9 of 12

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MISSISSIPPL
PRISON _
HORRORS:

Continued from page 4.
threat of substantial harm in violation
of their constitutional rights.”

Alicia Netterville, a Mississippi
lawyer and criminal justice advocate,
was not surpnsed about the report’s
findings. She told The Vinal Call the
findings confirm what lawyers, ad-
voeates and organizations have been
complainmg about and problems that
needed to be soived.

She detailed some of the report's
recommendations: significant chang-
es in the way the Mississippi De-
partment of Conections (MDOC) is
stalled; exlensive soreening and train-

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4, dune 2019 |

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incarcerated persons from risk of harm;
arevision of the mental health screen-
“ing process and providing timely med-
Xl weatment.

“The report says that if MDOC
does not rectify these problems, that
they could file a lawsuit 49 days alter

* the release of the report, So, where we

aré night now is wailing to see what ac-
tion MDOC will take to remedy these

_ problems: and whether or not DOJ

will file a lawsuit)’ Ms. Netterville
explained. “It’s kind of unfortunate
that this came out afler the legislative

- session, because it will require policy

changes at all levels, not just at the ad-
ministrative level”

This is the Mississippi Dept. of
Conections’ opportunity to make it
right before being farced to spend ex-
orbitant amounts of money on litiga-
tion just to do the right thing anyway;
she said. She also noted that the prison
system and criminal justice laws are in
such a state of disrepair that federal in-

pi Stale Penitentiary at

ai the Wississ

Parchman shows @ clogged sink with an psa garbage disposal. ©

themoment

“The incarceral system has a lot of
power to do the right thing or not to do
the right thing. So, it’s just an unfortu-
nate situation that some—including
myself people believe. ‘that Parch-
man is too far gone to even make these
changes,” she stated. “Parchman just
needs to be closed. It’s not just about

“the things that the correctional officers

do or the suicides or murders, It’s also
about the horrible living conditions.
For ‘some reason, our state officials
and our MDOC officials are content
and comfortable with having human
beings living in conditions that I don't
believe are fit for animals.”

The current problems at Parchman
echo back to its origins as a slave plan-
tation. Ms. Netterville noted the facility
has never been humane or favorable
to the people incarcerated there. She
hopes Parchman doesn’t became. an-
other Walnut Grove, a correctional
facility ‘shut down due to constitutional
violations, It has now been reopened

and had reports on mistreatment and
“a possible plan for extended Solitary

nement -
Jaribi Hill, of the Mississippi

. Worker’s Center, said one of the stron-

gest tools for dealing with the problem

is to place state prisons and corrections

under a federal lawsuit and federal
consent decree, which has been’ done.
in the past Under a consent decree,

» the: federal government would take

over the state prison system or appoint -
"someone to monitor state corrections
~~ onits behalf

But, she stressed, the ‘wording of
any. consent decree is critical. The
language should be strong enough

and specific enough to address what
is happening and not be undermined
at some point through ‘politics or a
change in federal administration, said
Ms, Hill. The decree: should cover the
entire Mississippi Dept. of Corrections,
not just Parchman, and investigations
should be more than-an exposé, “they
should lead. specially to policies en-
forced from the highest levels,” she
added.

The people of mnt must
make Parchman an international issue
and not a local, state, or regional issue,
Ms. Hill continued. Pressure can be
maintained by keeping the spotlight on
conditions at Parchman as violations
of intemational human rights, which
draws altention and scrutiny outside
of America, said Ms. Hill, who is also
convenor ‘of the Southem Human

Lawsuit sparks federal response :

‘Legal action on behalf of 152 in-

mates resulted in federal action. The
Justice Dept’s . investigation break in
February 2020.

_ The lawsuits that sparked federal
action were filed by Shawn “Jay-Z”

Carter, the hip hop mogul; rapper Yo
Gotti, and Team Roe, the social justice
division of Jay-2’'s Roc Nation. :

-Human and civil nights atlomey

Nkechi Tifa, a Washington D.C.
based justice advocate, told The Final

Call the Justice Department's fmdings ”

at Parchman demonstrate not only

“clear violations of the mule of law and
‘official corruption regarding the appli-

cation of justice, but also hypocrisy on
the world stage.

“[’s a agiety for there to be ©

-eniticism of other countries when the

United States needs to look in its own
backyard and see the abuses,” Atty.
‘Taifa said, +

“It's been over 50 years since the
Attica (prison), rebellion in upstate
New York, which (inmates), rebelled
for just basic huinan rights, just basic
humane conditions of confinement
and we still have the situation where
these: same ‘egregious conditions of
confinement are right here in U.S.
prisons.”

According to attomeys for. the

-plaintifis, the lawsuit, filed in the

United States District Court’s North
em District of Mississippi Greenville
‘Division, said that grave conditions
existed within the maximunr-security
facility and that appropriate oversight
was. needed immediately to avoid
further harms committed at that time
under the state’s lack of supervision.
Plaintiffs’ lives are in peril,”
wrote Lawrence §, Blackmon of the
Blackmon Fim, PLLC in the first
paragraph of the suit’s preliminary
statement. “These longstanding, prob-

lems have in recent weeks reached a
boiling point that imperils Plaintiffs

and places them. in imminent danger
of serious injury,” stated the lawsuit, It
-went on to describe an unusual num-
ber of deaths occurring from violence
at Parchman just weeks before the
aay was filed.

On top of the horrendous and in-
human conditions inside the prison,
Atty. Taifa argued withthe Covid pan-
demic, i incarceration within the walls
of Parchinan is worse than enslave-
ment when it was a plantation.

“This is not something that you
__ ed that “unfettered access to contra-
and “umcontrolled activi-

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would really wish‘on your worst en-
ery,” Atty. Taifa said of what she de~
scribed as'a living hell. “It’s no won-
der to me that there are issues dealing
with mental health, ‘so

by coruption and of how the corrupt

are incapable are giving justice.
Abdullah Muhammad, Student
National Prison Reform Minister for
the Nation of Islam, told

there really needs to be
ways to make sure that
when people are'subject-
ed to things that- cause
them to be unbalanced
that they not be subject-
ed to further violence.”
“Years of MDOC’s
deliberate indifference
has resulted in serious

STATES OF
INCARCERATION:

The Final Call that the
Teachings of the Hon,
Elijah’ Muhammad: “un-
der the leadership of the
Honorable Minister Lou-
is Farrakhan is the best
lens through «which the
problems of mass incar-
ceration and goverment
abuses may be viewed.

harm and a substantial

risk of serious harm to persons con-
fined at Parchinan,” the report from
the US. Justice Departnent’s civil
rights division stated. add-

yr in partresulted from* under

staring an ision).
nnouncing her findings by

conference call, Assistant Attomey

General Kristen Clarke said that for
TTWe Trst time the Justice Department

considered ihe use of solitary com
finement for persons without serious
mental illnesses as unconstitutional.
Other state prisons within the Mis-

sissippi Department of Corrections.

system. remain under investigation,
inchiding the South Mississippi Cor-
rectional Institution, the Central Mis-
sissippi Correctional Facility, and the
Wilkinson County Correctional Fa-

Inhis landmark book, “Message to
the Blackman in America,” the Most
Honorable Elijah Muhammad of the
Nation of Islam wrote of the evil bred

Sharing ~ testimonies
of mothers traveling to Parchman to
investigate the rumored deaths and
injuries suffered by their loved ‘ones
within its walls, Student Minister Mu-

hammad shared examples of what he
called “callous indifference pee
staf, He the treatment 0

Frakes to less than that given shina
and said that hell is a condition of life
made by the wicked. He also praised
the efforts of Jay-Z and Yo Gotti in
what he called a righteous battle for
freedom, justice and equality as Amer-
ican society continues to unravel.

“By us being deprived of the
knowledge of our own nature, and the
knowledge of the nature of our cap-
tors, we are blind in-prison and (we)
cannot see beyond ‘the condition of
hell?” Student Minister’ Muhammad

said of those locked within “inmumer- ~

able prison hous¢s in the North as well
asthe South.” He added that once the

blind gain sighi, they will see the val-
ue of separation and that only through’ ”

faith in Allah (God) will they find re-
demption.

‘Mississippi has the second-highest
incarceration Tate in the warld, accord-
ing 10 “States of Incarceration: The
Global Context 2021?""The Vera Tnsti-
tute’s Incarceration Trends’ in "Missis-
sippi reported that Black people made
up 39 percent of” Mississippi residents.

When gang violence exploded
at Mississippi's State Penitentiary at
Parchman and other state prisons ap-
proximately ovo years ago, resulting in
at least 12 inmate deaths, it came as no
surprise to prison rights activists, advo-
cacy groups, families of those incarcer-
ated and those behind bars.

Even then, cell phone photos from
those inside, relentless activism and
investigations from prison authorities
revealed, among other things, a pro-
fusion of rats, mice, insects and other
vermin; sometimes ankle-deep raw
sewage in bathrooms, cells and ‘cam-
mon areas; broken toilets and sinks,
and entire sections in the facilities in
darkness due to electrical problems:

Prison reform activists and family
members held demonstrations and ral-
lies and some tried to visit state Iegis-
lators at the Mississippi state capitol in
Jackson, and others tried to. find ways
to pressure lawmakers to do their jabs.

Tn comparison, Blacks“are $7 percent ¢
of the people in Jaal and astagpering 62
\ percent of those in prison. ey

DNA. Prison reformers and advocates,
incarcerated men and women, and

others have filed lawsuits for decades
to demand state officials deal with the
troubling, violence, unsanitary kitch-
ens, mold, mildew, water contaminat-
ed with feces, and the overall problem
of decaying, decrepit, ¢ and hazardous
conditions.’ i

This sounds: “familiar Bese iis
all-too fimniliar with’ federal findings
spanning from Alabama to Mississippi
and beyond.

During a previous interview with
The Final Call, Bennu Hannibal Ra-
Sun, a memiber of the Free Alabama
Movement, an organization dedicated
to human rights, said what is happen-
ing in prisons throughout the country is
similar, “Alabama is not the only state
with a prison problem. Prisons are a
nationwide problem. So, thinking they
will come to Alabama and solve our
problems while (49) other states have
the same issue is naive.”

Efia> Nwangaza of the Affi-
can-Ameérican Institute for Policy
Studies and Planning and 5.C. coor-
dinator for the Malcolm X Grassroots

Movement expressed skepticism
about federal involvement in prison
reform in a previous interview with
The Final Call.

“| don't think there is much dif-
ference between the state and federal
prisons. Some problems arise from
violence, sex abuse, and sanitary con-
ditions, she said.“ believe the reality
is that the attitudes and the culmure of
the prison system in this country are
more punitive and less therapeutic.
The issue is simply amatter of degree
regarding how hostile, vengeful, and
cruel the treatment is of prisoners.”

According to Attomey Nwanga-
za, it is not the issue of reforms thal
should be pursued in this struggle.
“Tt should be the issue of abolition. If
we interpret the history of prisons in
this country as similar to the history
of the police in this country, the nvo
institutions both served to contain,
control and erush the spirit of Aftican
people,” she concluded.

(Anisah Muhammad contributed
to this report)

A June 2019 Mississippi Health Department inspection at the Mississippi Slate Penitentiary al

Parchman shows garbaga.and roaches inside a pipe chase, which has a missing door,

Photo, Mississipai Department of Healt

LG, 3S
Case 5:24-cv-00113-DCB-ASH Document 1-1 Filed 10/24/24 Page 17 of 23

3 as, THE FINAL CALL 35

“In this Feb. 13, 2020 photo Sheren Smith, mother of inmate Wesley Clayton's children, holds a sel of photographs of the
es 2 5 Scie is feet lower left arm that was broken in a recent prison riot at the Mississippi State Penitentiary in Parchman, following a joint
Mississippi Capitol in Jackson, carried signs that protested conditions in pris- hearing of he House Corrections and Judiciary B Committees, at the Capitol in Jackson, Miss, Clayton's femily says the

clashes in recent weeks, Jan. 24, 2020. They called upon the administration arm was left untreated for about a month; They credit a lawmaker for inlervening and getting the inmate medical treatment.
antiary in Parchman, where a number of deaths have occurred, Photo: AP Photo! Phola: AP PhotafRagello V. Sol ake ces ewe hers Sanat : ts

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doe ket oa
iura. Part of the floor Is mi

g tiles, and there is structural damage in much of the facility, Photo: Disatilly Rights Mssissiont

nh

Inmates at the Mississippi Slate Penitentiary at Parchman are housed in rows of bunk beds in one of the prison’s facilities with failing infrastruc|

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00113-DCB-ASH Document 1-1 Filed 10/24/24 Page 18 of 23
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22-cv-00005-TBM-RPM Document 34-

:24-Cv-

Case 5
Case 1

- A June 2019 Mississippi Health Deparment.
inspection at the Mississippi State Penitentiary
at Parchman shows molded potato casserole

ieft inside a kitchen oven. : Mississippi Heallh 2 yep
a SS nee ens sissippi State Penitentiary al Parchman.:

Main entrance to Mississippi Stale Penitentiary.
Case 5:24-cv-00113-DCB-ASH Document 1-1 Filed 10/24/24 Page 19 of 23

Hattiesburg Police Department

Cranes

Ua)? Incident Repon

Ree 400 Klondyke Street Haltiesburg, MS 39491

UT Phone: (A931) 5-44 - 7905
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Pride and Progress I6S01801 oo - _ FORRE! ST COUNTY THathesourg 2022120481

iReport Date! line Occurrence Date / Tima Fito Clase

eaucental) 1206/2022 13:22 Hrs_ |+2/06/2022 12:53 Hrs _. 97-3-7 (2WAMU

pet pe eee Supplements

Discharging A Firearm

lincident Report Typele) t Natuce of Incident

Initlal Rapor (1}
Pending Approval (2)

Summary

on December 6 6, 2022, Officers were dispatch
REG

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Townshin of Oecurrance Clery Locatian |
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Oltease

5 67-3-7 (2HAYIN - Assault, Aggravated: Use Of Oeacly Weapon :F

|

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E Mitcham (#22750; hatiesburg Police f Oananment

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‘Assisting 1 Q. Handersen (#25928) IHattiesburg Police Depanment oC
“Assisting _. Captain D. Miller (420249) ‘Hattiesburg Police Oepanment 0 :
Assisting Liautenant C. Johnson (#20210) ‘Haltiesburg Patice Department 0
Assisting x lOfficer N. Hocker (#25690) _. Hattiesburg Police Deparimant
Assisiing : x Officer R. Taplin (#20514) Hathesburg Police Deparment
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jp7-3-7 (2}AMI-Assaclt,
Asst ravated: Use Of Deadly

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SIMS, LONNIE & (Primary Namo)

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Report Run On Wadnesday, December 37, 2922 By J. Ounawsy

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Page’ 1 of &
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IN THE CIRCUIT COURT OF FORREST COUNTY, MISSISSIPPI

| STATE OF MISSISSIPPI :
VERSUS cause no. -949
SHAQUILLE ADAMS DEFENDANT
CRIMINAL INFORMATION

BEFORE ME, the undersigned authority for said County and State, Clay Cranford,
Assistant District Attorney of the Twelfth Judicial Court District, makes on oath, based upon
information and belief, that SHAQUILLE ADAMS, on or about December 26, 2022, in Forrest
County, Mississippi, did purposely, knowingly, or recklessly, and. without authority of law,
commit the crime of SIMPLE ASSAULT, in violation of Miss. CODE ANN. § 97-3-7(1)(a) (1972),

as amended, by causing bodily injury to Lonnie Edward Sims, Jr., with a deadly weapon, to-wit

"a firearm, which firearm could produce death or serious bodily harm, and against the peace and

- dignity of the State of Mississippi.

Ob Lg
Te Pe PASSES FI

OREO
CIBER AD ORE ME, on this the \\ day of August, 2023.

SWORN TO AND SURSERIBEDI
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: BO -NQSARY PUBLIC

“PEST COS
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Cy

MY COMMISSION EXPIRES:

N\A

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Case: 18C11:23-cr-00545 Documernt#:1 Filed: 08/11/2023 Page 1 of 2

IN THE CIRCUIT COURT OF FORREST COUNTY, MISSISSIPPI

FILED

_ STATE OF MISSISSIPPI
1
VERSUS AUG Tt 2023 Causeno. 93-545 H
« . RL IKS
\ h A fH! | ] p fd AMS rdnrest cits CIRCUIT CLERK DEFENDANT
WAIVER OF INDICTMENT

COMES NOW, the Defendant. in the above styled and numbered matter, who having been by me

first duly swom, on his/her oath, presents and says the following:

I.
That my full name is , and I am
40 years of age, my DOB is __ G lo / 43 _, andmy SSNis 42]. 75- F 24.
: II.

. I understand that I stand charged by Criminal Information dated the jth day of
Pita . , 2023 , with the crime of CG} fap le Qa scaul b _)

an indictable offense; that said Criminal Information was filed in the Circuit Court of Forrest County,

Mississippi; and that said Criminal Information alleges said crime to have been committed on or about the

DD aay of Dec. 2022

II.

I am represented by counsel, Honorable Candance L. Rickman, a duly licensed and practicing
attorney of the State of Mississippi; that she has advised me as to the nature of the charge against me; and
has fully advised me of my rights in the premises; and that I am freely and voluntarily executing the Waiver
of Indictment with her approval and consent, and upon her advice.

IV.
| understand that I am entitled to have this matter presented to a lawfully constituted Grand Jury of

this County for determination of whether an Indictment should be returned against me herein; that I hereby

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THE CIRCUIT COURT OF FORREST COUNTY, MISSISSIPPI

iSTATE OF MISSISSIPPI FI LE D
‘| VERSUS AUG 11 2023 CAUSE NO. _43- S45 UH.
han tlie .
SHAQUILLE ADAMS FORREST ons CIRCUIT CLERK DEFENDANT

ENTRY OF PLEA AND JUDGMENT OF COURT

THIS DAY INTO OPEN COURT came the District Attorney, who prosecutes for the
State of Mississippi, and came also SHAQUILLE ADAMS, personally and represented by
counsel, Candance L. Rickman, Esq., having waived indictment on the charge of SIMPLE
ASSAULT, in violation of Miss. CODE ANN. § 97-3-7(1)(a) (1972), as amended; and thereupon

‘the said SHAQUILLE ADAMS, being duly advised of all his/her legal and constitutional rights

| in the premises and being fully advised of the consequences of such plea, and upon
recommendation by the State, did then and there enter a plea of guilty to the misdemeanor charge
of SIMPLE ASSAULT, in violation of Miss. CODE ANN. § 97-3-7(1)(a) (1972), as amended,
which this Court FINDS was voluntarily, intelligently and freely made.

THEREFORE, for said offense and on said plea of guilty, and upon the recommendation
of the State of Mississippi, it is by the Court ORDERED AND ADJUDGED that the said
SHAQUILLE ADAMS be and he/she is hereby ADJUDICATED GUILTY of
MISDEMEANOR SIMPLE ASSAULT, and sentenced to a term of SIX (6) MONTHS in the
custody of the Forrest County Jail, with all but time served suspended on the Defendant’s good
behavior; and to pay a fine in the amount of $ 500.00; and alli costs of court.

IT IS FURTHER ORDERED AND ADJUDGED that the Defendant be, and he/she. is is hereby

60
ordered to pay $ £26 each month toward payment of fines, fees, restitution and costs beginning

sixty (60) days after entry of this order assessed herein beginning and continuing each month thereafter

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Case 5:24-cv-00113-DCB-ASH Document 1-1 Filed 10/24/24 Page 23 of 23
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Case: 18C11:23-cr-00545 + Document#:3 Filed: 08/11/2023 Page 3 of 3

I hereby certify that I have explained to the Defendant his legal and constitutional rights in this matter and the consequences
of a guilty plea. The Defendant has expressed to me knowingly, freely, voluntarily and intelligently that he desires to enter a
plea of guilt herein. I further hereby certify that I have read'and approved this Sentencing Order and that ] have provided the
Defe ith a copy of same.

dance Rickman, ESQ.
Attorney for Defendant

I heyeby certify that my attorney has explained to me my legal and constitutional rights in this matter and the consequences of
a guilty plea. I have told my attorney that I desire to enter a guilty plea and the guilty plea is being made knowingly, freely,.
voluntarily and intelligently.

We. PLLTS.
DEFENDANT
I, | Clerk of the Circuit Court aforesaid, certify that the above and
foregoing is recorded in Minute Book , at Page , of said Court.
This the day of , 2023.

CIRCUIT CLERK

BY: DEPUTY CLERK

